               IN THE COURT OF APPEALS OF NORTH CAROLINA

                                   No. COA19-1042

                               Filed: 1 September 2020

Wake County, No. 18-CVS-010628

JOHN D. SAULS, et al., Plaintiffs,

              v.

ROBERT O. BARBOUR, et al., Defendants.


        Appeal by Defendants from order entered 11 July 2019 by Judge Paul C.

Ridgeway in Wake County Superior Court. Heard in the Court of Appeals 11 August

2020.


        Ragsdale Liggett PLLC, by Amie C. Sivon and Matthew L. Hubbard, for
        Plaintiffs-Appellees.

        Edmundson &amp; Burnette, LLP, by James T. Duckworth, III, and Daniel R.
        Flebotte &amp; Associates, PLLC, by Daniel R. Flebotte, for Defendants-Appellants.


        COLLINS, Judge.


        Defendants appeal from an order granting Plaintiffs’ motion for judgment on

the pleadings in their action to quiet title and for declaratory judgment that Plaintiffs

have an appurtenant easement over Defendants’ property. Defendants argue that

the trial court erred because Defendants’ submission of two affidavits opposing the

motion converted the motion into one for summary judgment, there were material

issues of fact that precluded the trial court from effectively granting summary
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                                         Opinion of the Court



judgment, and Plaintiffs are not entitled to an appurtenant easement as a matter of

law. We affirm the order.

                                     I. Procedural History

      Plaintiffs brought an action in Wake County Superior Court on 24 August 2018

to quiet title and for declaratory judgment that Plaintiffs have an appurtenant

easement of ingress and egress across Defendants’ property. Plaintiffs attached to

the complaint the recorded deeds and maps for both Plaintiffs’ and Defendants’

properties. Plaintiffs filed an amended complaint on 16 April 2019. Defendants filed

an answer on 8 May 2019. The next day, Plaintiffs filed a motion for judgment on the

pleadings. On 20 June 2019, Defendants filed two affidavits in opposition to the

motion.1 After conducting a hearing on 9 July 2019, the trial court entered an order

on 11 July 2019, granting Plaintiffs’ motion for judgment on the pleadings, and

declaring that “Plaintiffs have a perpetual appurtenant easement across the land

designated “30’ INGRESS / EGRESS EASEM’T” on the plat maps referenced by both

Plaintiffs’ and Defendants’ deeds.” Defendants timely filed notice of appeal.

                                   II. Factual Background

      Prior to 1980, Walter and Coma Willard owned a tract of land located between

Penny Road and Lake Wheeler Road in Wake County. In 1980, the Willards conveyed

the northwestern, 3-acre portion of their property at 5005 Penny Road (“Penny Rd.



      1   Defendants did not otherwise file a response in opposition to the motion.



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Property”) to David Hursey and his wife by a general warranty deed recorded in the

Wake County Registry.2 The Willards retained ownership of the remaining tract

(“Willard Tract”) that adjoined the Penny Rd. Property on the east and south sides

and extended east to Lake Wheeler Road. A survey map of the Penny Rd. Property

was recorded in 1981 (“Penny Rd. Property Map”), and is depicted below. The Penny

Rd. Property Map shows both the Penny Rd. Property and the adjoining Willard

Tract.        The Willard Tract includes an area labeled “30’ INGRESS EGRESS

EASEMENT” running across the entire northern border of the Willard Tract, from

the Penny Rd. Property on the west side to Lake Wheeler Road on the east side.




         2   All recordings referred to herein were filed in the Wake County Registry.

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                            Penny Rd. Property Map




      In 1983, the Willards subdivided the northeastern portion of the Willard Tract

at 4900 Lake Wheeler Road and recorded a map of the newly created 1.43-acre parcel,

labeling it “Tract A” (“Subdivision Map”). The Subdivision Map, depicted below,

includes an area on the northern border of Tract A labeled “30’ INGRESS / EGRESS

EASEM’T,” running across the entire 314.47-foot northern boundary of Tract A, from

the Penny Rd. Property on the west side to Lake Wheeler Road on the east side. The

dotted line representing the southern boundary of the area labeled “30’ INGRESS /

EGRESS EASEM’T” extends partly into the adjoining Penny Rd. Property. At the

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                                 Opinion of the Court



time the Subdivision Map was recorded, the Penny Rd. Property was owned by the

Hurseys and is accordingly labeled “Dave Hursey.”

                                Subdivision Map




      In 1984, the Willards conveyed Tract A at 4900 Lake Wheeler Road (“Lake

Wheeler Rd. Property”) to Robert Barbour and his wife, Barbara Barbour, by a

recorded general warranty deed (“Barbour Deed”). The Barbour Deed expressly

refers to the Subdivision Map recorded by the Willards in 1983, which shows the “30’

INGRESS / EGRESS EASEM’T.” The Barbour Deed also states that title to the


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                                     Opinion of the Court



property is subject to “all easements of record in the Wake County Registry which

affect the title of the said lot.”

       The Barbers conveyed the Lake Wheeler Rd. Property in 2018 to their son,

Robert Barbour, Jr., by a non-warranty deed (“Barbour Jr. Deed”). The Barbour Jr.

Deed was recorded and expressly refers to the Subdivision Map recorded by the

Willards in 1983, which shows the “30’ INGRESS / EGRESS EASEM’T.” Robert

Barbour, Jr., is the record owner of the Lake Wheeler Road Property and resides there

with his father, Robert Barbour (collectively “Defendants”).

       The Penny Rd. Property was conveyed by the Hurseys in 1986 to Richard

Arnold by general warranty deed. Arnold conveyed it in 1987 to John Sauls and his

wife, Susan Jane Curtis, by general warranty deed (“Sauls Deed”). The Sauls Deed

expressly refers to the Penny Rd. Property Map recorded in 1981, which shows the

“30’ INGRESS EGRESS EASEMENT.” Plaintiffs are members of the Sauls family,

who are currently the record owners of the Penny Rd. Property.




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                                 Willard Tract

                                                            Lake Wheeler Rd.
    Penny Rd. Property                                         Property

    Willards conveyed to                                    Willards created by
     Hurseys in 1980                                        subdivision in 1983




     Hurseys conveyed to                                Willards conveyed to
       Arnold in 1986                                    Barbours in 1984




  Arnold conveyed to Sauls
                                                        Barbours conveyed to
   and wife, Susan Jane
                                                        Barbour, Jr. in 2018
      Curtis, in 1987


      Plaintiffs allege that their family members used the property designated on

the maps as an ingress/egress easement across Defendants’ property to access their

home from Lake Wheeler Road. In April 2018, Defendants parked a vehicle on that

property, thereby blocking Plaintiffs’ access to the Penny Rd. Property from Lake

Wheeler Road. Barbour, Jr., later told Sauls that Plaintiffs do not have a legal

easement over Defendants’ property and that they could not continue to use the

easement across Defendants’ property to access their own.




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                                  III. Discussion

      Defendants argue that the trial court erred by granting Plaintiffs’ motion for

judgment on the pleadings, because: (1) Defendants’ submission of two affidavits

opposing the motion converted it into one for summary judgment; (2) the trial court

erred by effectively granting summary judgment; and (3) even if not converted into

summary judgment, judgment on the pleadings was improper because material

issues of fact exist, and Plaintiffs are not entitled to a perpetual appurtenant

easement as a matter of law.

A. Submission of Affidavits

      Defendants first argue that their submission of two affidavits in opposition to

Plaintiffs’ motion for judgment on the pleadings converted the motion into one for

summary judgment.

      Rule 12(c) of the North Carolina Rules of Civil Procedure provides:

            After the pleadings are closed but within such time as not
            to delay the trial, any party may move for judgment on the
            pleadings. If, on a motion for judgment on the pleadings,
            matters outside the pleadings are presented to and not
            excluded by the court, the motion shall be treated as one
            for summary judgment and disposed of as provided in Rule
            56, and all parties shall be given reasonable opportunity to
            present all material made pertinent to such a motion by
            Rule 56.

N.C. Gen. Stat. § 1A-1, Rule 12(c) (2019) (emphasis added).

      This provision sets forth a procedure analogous to the conversion of a motion

to dismiss under Rule 12(b)(6) to a motion for summary judgment. See 5C Charles A.


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Wright &amp; Arthur R. Miller, Federal Practice &amp; Procedure § 1371 (3d ed. 2020) (citing

Fed. R. Civ. P. 12(d), “If, on a motion under Rule 12(b)(6) or 12(c), matters outside the

pleadings are presented to and not excluded by the court, the motion must be treated

as one for summary judgment under Rule 56.”). With respect to both motions to

dismiss and motions for judgment on the pleadings, the trial court is vested with

discretion to choose whether to consider materials outside the pleadings submitted in

support of or in opposition to those motions. See id. at §§ 1366, 1371. See also

McBurney v. Cuccinelli, 616 F.3d 393, 410 (4th Cir. 2010) (“[A] judge need not convert

a motion to dismiss into a motion for summary judgment as long as he or she does

not consider matters outside the pleadings. . . . [N]ot considering such matters is the

functional equivalent of excluding them—there is no more formal step required.”

(internal quotation marks and citation omitted)).

      Documents attached to and incorporated within a complaint become part of the

complaint. Weaver v. Saint Joseph of the Pines, Inc., 187 N.C. App. 198, 204, 652

S.E.2d 701, 707 (2007). “They may, therefore, be considered in connection with a Rule

12(b)(6) or 12(c) motion without converting it into a motion for summary judgment.”

Id. (citation omitted).   “[I]n the event that the matters outside the pleadings

considered by the trial court consist only of briefs and arguments of counsel, the trial

court need not convert the motion into one for summary judgment.” Steele v. Bowden,

238 N.C. App. 566, 573, 768 S.E.2d 47, 54 (2014) (internal quotation marks, ellipses,

brackets, and citation omitted).


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        In determining whether a trial court considered matters outside the pleadings

when entering judgment on the pleadings, reviewing courts have looked to cues in

the    trial   court’s    order.        See    Davis     v.     Durham      Mental      Health/Dev.

Disabilities/Substance Abuse Area Auth., 165 N.C. App. 100, 105, 598 S.E.2d 237,

241 (2004) (motion for judgment on the pleadings not converted into motion for

summary judgment, even though plaintiff presented at least three documents to the

trial court, where the order stated, “[b]ased upon the pleadings and the arguments of

counsel, the Court finds that Defendant is entitled to entry of a judgment in its favor

based on the pleadings”); Privette v. Univ. of N.C. at Chapel Hill, 96 N.C. App. 124,

132, 385 S.E.2d 185, 189 (1989) (Rule 12 motion was not converted into Rule 56

motion where affidavits were introduced to support the motion, because “the trial

court specifically stated in its order that for the purposes of the Rule 12 motion, it

considered only the amended complaint, memoranda submitted on behalf of the

parties[,] and arguments of counsel”).

        In this case, prior to the hearing on the motion for judgment on the pleadings,

Defendants filed two affidavits in opposition to the motion.3 In its order granting the

motion, the trial court specifically stated:

                After reviewing Plaintiffs’ motion, evaluating the
                pleadings and all attachments, and considering the
                arguments of counsel, this Court concludes that no genuine
                issues of material fact remain, that this case may be

        3Plaintiffs state in their appellate brief that they asked the trial court at the motion hearing
to exclude the affidavits. Because the record on appeal does not contain a transcript of the hearing,
we cannot determine whether the trial court ruled on this request in open court.

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              decided as a matter of law, and that it is therefore
              appropriate to enter judgment on the pleadings.

      As in Davis and Privette, the trial court’s order indicates that the trial court

evaluated the pleadings and all attachments, and considered the arguments of

counsel.    Notably, it does not state that the trial court considered Defendants’

affidavits, which would appropriately have been considered on a motion for summary

judgment.     Additionally, nothing in the record indicates that the trial court

considered matters beyond the pleadings, arguments, and briefs.            Accordingly,

although the affidavits were presented to the trial court, they were excluded by the

trial court from consideration in its ruling. The motion was therefore not converted

into one for summary judgment.

B. Summary Judgment

      By Defendants’ next two arguments, Defendants contend that the trial court

erred in effectively awarding Plaintiffs summary judgment. These arguments are

necessarily dependent upon Defendants’ position that their submission of affidavits

converted Plaintiffs’ motion for judgment on the pleadings into one for summary

judgment.    However, as explained above, Plaintiffs’ motion for judgment on the

pleadings was not converted into one for summary judgment where the trial court

excluded Defendants’ affidavits, and the trial court granted judgment on the

pleadings in favor of Plaintiff. Defendants’ argument is thus overruled.




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C. Judgment on the Pleadings

      Finally, Defendants argue that, even if the motion for judgment on the

pleadings was not converted into one for summary judgment, the trial court erred by

entering judgment on the pleadings. Defendants specifically allege that a material

issue of fact exists as to whether the description of the purported appurtenant

easement is sufficient to identify such an easement.

      This Court reviews a trial court’s order granting a motion for judgment on the

pleadings de novo. Toomer v. Branch Banking &amp; Tr. Co., 171 N.C. App. 58, 66, 614

S.E.2d 328, 335 (2005). Under a de novo review, we “may freely substitute our

judgment for that of the trial court.” Carteret County v. Kendall, 231 N.C. App. 534,

536, 752 S.E.2d 764, 765 (2014) (internal quotation marks, brackets, and citation

omitted).

      “A motion for judgment on the pleadings is the proper procedure when all the

material allegations of fact are admitted in the pleadings and only questions of law

remain.”    Ragsdale v. Kennedy, 286 N.C. 130, 137, 209 S.E.2d 494, 499 (1974)

(citations omitted). The movant must show that no material issue of facts exists and

that the movant is entitled to judgment as a matter of law. Id.
             The trial court is required to view the facts and permissible
             inferences in the light most favorable to the nonmoving
             party.    All well pleaded factual allegations in the
             nonmoving party’s pleadings are taken as true and all
             contravening assertions in the movant’s pleadings are
             taken as false.       All allegations in the nonmovant’s
             pleadings, except conclusions of law, legally impossible


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             facts, and matters not admissible in evidence at the trial,
             are deemed admitted by the movant for purposes of the
             motion.

Id. (citations omitted).

      “An easement is a right to make some use of land owned by another.”

Tanglewood Prop. Owners’ Ass’n, Inc. v. Isenhour, 254 N.C. App. 823, 830, 803 S.E.2d

453, 458 (2017) (ellipsis and citation omitted). “An appurtenant easement is an

easement created for the purpose of benefiting particular land . . . [and] attaches to,

passes with[,] and is an incident of ownership of the particular land.” Id. at 830, 803

S.E.2d at 459 (citation omitted).

      “An easement can be created in several ways, including grant, estoppel, way of

necessity, implication, dedication, prescription, reservation, and condemnation.” Id.
(citation omitted). “Although easements must generally be created in writing, courts

will find the existence of an easement by implication under certain circumstances.”

Knott v. Wash. Hous. Auth., 70 N.C. App. 95, 97, 318 S.E.2d 861, 862-63 (1984)

(citation omitted). “Appurtenant easements implied by plat are recognized in North

Carolina.” Tanglewood, 254 N.C. App. at 830, 803 S.E.2d at 459 (citing Hinson v.

Smith, 89 N.C. App. 127, 131, 365 S.E.2d 166, 168 (1988) (holding property owners

possess “a private easement over and across all of the property designated as ‘Beach’

on the recorded plat”)).   An appurtenant easement may be created “by implied

dedication, with either a formal or informal transfer,” Nelms v. Davis, 179 N.C. App.

206, 209, 632 S.E.2d 823, 826 (2006) (citation omitted), and may be created “when the


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purchaser whose transaction relies on the plat is conveyed the land,” Price v. Walker,

95 N.C. App. 712, 715, 383 S.E.2d 686, 688 (1989). See also Hinson, 89 N.C. App. at

130, 365 S.E.2d at 167 (“Conduct which implies the intent to dedicate may operate as

an express dedication, as where a plat is made and land is sold in reference to the

plat.”).

       “The easement areas must be sufficiently identified on the plat in order to

establish an easement, although an express grant is not required.” Tanglewood, 254

N.C. App. at 830, 803 S.E.2d at 459 (citing Conrad v. West-End Hotel &amp; Land Co.,

126 N.C. 776, 779-80, 36 S.E. 282, 283 (1900) (holding purchasers’ deed reference to

plat containing area identified “Grace Court” sufficient to establish purchasers’ right

to “open space of land”); Harry v. Crescent Res., Inc., 136 N.C. App. 71, 75, 80, 523

S.E.2d 118, 121, 123-24 (1999) (determining remnant parcels depicted on plat and

“described by metes and bounds” but not further identified insufficient to establish

an easement); Hinson, 89 N.C. App. at 130-31, 365 S.E.2d at 167-68 (finding area

designated “Beach” on recorded plat referenced by property owners’ deeds sufficient

to establish a private easement)).

       In this case, Plaintiffs attached the following documents of public record to

their amended complaint, incorporating them by reference: the Sauls Deed, which

explicitly refers to the Penny Rd. Property Map; the Penny Rd. Property Map; the

Barbour Deed and the Barbour Jr. Deed, which both explicitly refer to the Subdivision

Map; and the Subdivision Map. These documents thus became part of the complaint


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                                  Opinion of the Court



and were properly considered in connection with Plaintiffs’ motion for judgment on

the pleadings. See Weaver, 187 N.C. App. at 204, 652 S.E.2d at 707. Defendants

admitted the existence of these documents in their answer and admitted that “[b]oth

plats referenced in Plaintiffs’ and Defendants’ deeds show the Easement as ‘30’

INGRESS / EGRESS EASEM’T.’”

      The Sauls Deed expressly refers to the Penny Rd. Property Map, which shows

the 30-foot ingress/egress easement on and across Defendants’ property. The Barbour

Deed and Barbour Jr. Deed expressly refer to the Subdivision Map, which shows the

30-foot ingress/egress easement on and across Defendants’ property. See Price, 95

N.C. App. at 715, 383 S.E.2d at 688 (An appurtenant easement may be created “when

the purchaser whose transaction relies on the plat is conveyed the land”).         The

inclusion of the specifically labeled 30-foot ingress/egress easement on the recorded

Subdivision Map demonstrates the Willards’ intent that the ingress/egress easement

be used by the owners of the Penny Rd. Property to traverse the Lake Wheeler Rd.

Property to access their property from Lake Wheeler Road. See Hinson, 89 N.C. App.

at 130, 365 S.E.2d at 167; Nelms, 179 N.C. App. at 209, 632 S.E.2d at 826
(appurtenant easement may be created by implied dedication, either by formal or

informal transfer).

      As in Price and Hinson, the easement in this case is sufficiently identifiable to

establish an ingress/egress easement across Defendants’ Lake Wheeler Rd. Property

for the benefit of Plaintiffs’ Penny Rd. Property. Both recorded maps show that the


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                                  Opinion of the Court



easement across Defendants’ property: (a) is labeled as an ingress/egress easement;

(b) is coterminous with the northern boundary of Defendants’ property, which is

described in metes and bounds in the Barbour Jr. Deed, on the Subdivision Map, and

on the Penny Rd. Property Map, and is labeled 314.47 feet long; (c) intersects with

Lake Wheeler Road on its east side; (d) intersects with the Penny Rd. Property on the

west side; and (e) is 30 feet wide, as can be inferred from the “30’ ingress/egress

easement” label.

      Defendants argue that the description of the easement on the map is

ambiguous.    Defendants assert that “notwithstanding the ingress/egress terms,”

“there is a question whether the description of the purported ingress/egress easement

is, as a matter of law, sufficient to identify itself or whether it locates the utility

easement.” Defendants point to the affidavits submitted to, and excluded by, the trial

court to support their argument that the area labeled on the maps “30’ INGRESS /

EGRESS EASEM’T” is not an ingress/egress easement but is actually a 30-foot utility

easement. Defendants’ argument is meritless.

      First, the plain language of the label “INGRESS / EGRESS EASEM’T” defeats

Defendants’ argument that the easement shown on the parties’ respective maps is

not an ingress/egress easement but is instead a “utility easement.” See Swaim v.

Simpson, 120 N.C. App. 863, 864-65, 463 S.E.2d 785, 787 (1995) (“Because the deed

identified the easement as one for ingress and egress, the trial court erred in

expanding its use” “to provide for the location, installation, and maintenance of


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facilities for domestic utilities[.]”). “When the language [of a conveyance] . . . is clear

and unambiguous, effect must be given to its terms . . . .”         Weyerhaeuser Co. v.

Carolina Power &amp; Light Co., 257 N.C. 717, 719, 127 S.E.2d 539, 541 (1962). The term

“ingress/egress easement” is neither ambiguous nor silent as to the scope of the

easement. As Defendants note, the terms “ingress/egress” must be ignored in order

for Defendants’ argument to be tenable.

      Defendants also argue that the “30’ ingress/egress easement” language is

insufficient to identify an appurtenant easement because the southern boundary line

of the easement is incapable of being located. Defendants assert that it is not possible

to determine if the easement is 30 feet wide since the easement’s label on the

Subdivision Map does not contain the word “wide.”            However, according to the

Subdivision Map, the length of the easement is 314.47 feet. Hence, the 30-foot

descriptor refers to the width of the easement.

      Defendants further argue that the southern boundary line of the easement is

incapable of being located because it is represented by a dotted line, which indicates

that this boundary was not surveyed. As explained above, the easement represented

on the maps is 314.47 feet long and 30 feet wide. The northern boundary of the

easement is coterminous with the northern boundary of the Lake Wheeler Rd.

Property. The southern boundary of the easement is located 30 feet from and below

the northern boundary of the property at all points along the easement.




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         The recorded deeds and plats create a sufficiently identifiable appurtenant

ingress/egress easement across the Lake Wheeler Rd. Property, which provides access

to the Penny Rd. Property from Lake Wheeler Road. See Tanglewood, 254 N.C. App.

at 830, 803 S.E.2d at 459; Hinson, 89 N.C. App. at 130, 365 S.E.2d at 167. All

material allegations of fact were admitted in the pleadings. Plaintiffs were entitled

to an easement as a matter of law. The trial court did not err by entering judgment

on the pleadings in favor of Plaintiff. See Ragsdale, 286 N.C. at 137, 209 S.E.2d at

499.

                                 III. CONCLUSION

         The motion for judgment on the pleadings was not converted into one for

summary judgment. Judgment on the pleadings was proper because all material

allegations of fact were admitted in the pleadings. As a matter of law, Plaintiffs’

dominant estate is served by a perpetual appurtenant easement across the portion of

Defendants’ property designated “30’ INGRESS / EGRESS EASEM’T” on the plat

maps referenced by both Plaintiffs’ and Defendants’ deeds. We affirm the trial court’s

order.

         AFFIRMED.

         Chief Judge McGEE and Judge TYSON concur.




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